FORM 4 |
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NOTICE OF APPEAL , IN CLERK'S OFFIGE .
, - ; U.S. DISTRICT COURT E.D.N.Y.

“- NOV 092010

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' UNITED STATES DISTRICT COURT . | LONG ISLAND OFFICE ..

FOR THE

 

 

-Ensienn DISTRICT OF New Xo aK
| oo oe nonce or appean (JMAXALT) :
_ | “ . 7 Docket No. |

- (party)

herebyappeals to the United States Courtof Appeals for the Second Circuit from the decision . . .

Notice is s hereby given that: Nees Sacomai i compe"?

' (describe it) -

 

 

 

 

 

entered in this action on the _\ \__day of ockp her. 20 4,
' Suyoin Te Signaturg””
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Printed Name
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Notary Public Meme County a bComnbys 2c 132. 2O Rox 303

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Expires on 12/14/20 (

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Telephone-No. (with area code)

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FORM 2 |
sO __ NOTICE OF MOTION FOR EXTENSION OF TIME

RRAWK HRA

UNITED STATES DISTRICT COURT
ee FOR THE
- Zeslegn _~_PISTRICT OF mew Noel

 

; ' NOTICE OF MOTION FOR
EXTENSION OF TIME

et - _. Docket No.

’ Pursuant, to FRAP “4(a)(5), MEW 2S) Sedanies ( c Pez respectfully
: (party)
requests leave to file the within notice of appeal out of time. Makest S ecko Cen Let
(party),
desires to appeal the decision i in this action en ac beer Wy ZO\K _, but failed to file
(date) .
a notice of appeat within the required number of days because: {Explain here the “excusable

neglect" or “goed cause” which led 10 your failure to file anotice of appeal within the required

number of days.}

 

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NMR HAD QML MaKe Si Sade Men lc soe
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(600 96 9-4 BO?
Telephone No. (with area code)

Date: November 2 018.
FORM 3 |

COMBINED NOTICE OF APPEAL AND MOTION FOR EXTENSION OF TIME -

we brebe bead.

UNITED STATES DISTRICT COURT
FOR THE
Estes ___DISTRICT OF Nieto

 

 

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fo. Docket No. -

1. Notice i is hereby given that (Waviens Secdonvas GQethereby appeals

{party}
to the United States Court of Appeals for the Second Circuit from the decision entered in this acton ©

on Crtnben. I Zl. (Deserige it):
(date} . : :
2. Inthe event that this form-was not received in the Clerk's Office within the required time

MWkes: Sadana < spel respectfully requests the court to grant an extension of time in
(party) : |

accordance with FRAP 4(a)(5) for the foRawing reasons which constitute “excusable neglect” or
“good cause” (state reasons):

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abbot Suinribiing ews, woolen. ke CAGES ently CELIAC WO pani\ Crom, Vis Cork,

a. in further Support of this request, Viavesi Srdpmins Soe Zz states that this
{party}
Counl’s decision was received on Oc lobec \ \ 20% and that this form was mailed to the

 

 

(date)
court on | -
(date)
. K 1 Sots
. Signature A
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Printed Name

We tie Die Cosa Wib Caxsy Od eT 15? PO Rox% 303
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Notary Public - Mo County Telephone ‘No. (with area code)
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